Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 1 of 66
Case 1:11-cv-07550-GBD-SN Document 251 Filed 05/25/18 Page 7 ot

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GENERAL SANCTIONS WARRANTY AND INDEMNITY LETTER

Shipmevtl Davlaile/Alr Waybill Number DHL Puores| 36 (US - O43

This Sanctions Warranty aml Indemnity Lemer (thie “Letver") deala the understanding between

apna EF. Mella JI ("Shipp") al DET. Express (“DHL") and clarifies the
L

mnmations and warratice Shipper proveles to OHI with seapect to the potential impact af econoenic
manclions ews and mepulations upon the Shipment. Cepétalied terms used berein aré defined in Annex A be this
fetter.

SHIPPER HEREBY REPRESENTS AND WARRANTS ‘TO DPTMAL THAT:

SHIPPERS REPRESENTATIONS AND WAR ARTIS WinrH Rass Tin Sapa

Shipper it met 2 Deed Forty, oc in any way identified, eather specifically of by reference, om omy applicable
Sonctions List ised pucsumt te Sanctiom{s) issued by u Sanctions Awlhoricgy. Shipper is netiher cwesd mor
controtled by a Denied Party.

Shipper has eonducted effective due diligence on the Shipment’s recipients, any known end-users abel all
eonsiences. To the best of Shipper’s knowledge, tendering the shipments to DIL. ane! its delivery by DHL to its
intended dostinglioss: ancbior end-users will wet: 1} Const a breach ar vielation of my applicable Somection;
or 2) Axpose THAT. tn any Sancling or penalty imposed by uny Sanctions Authority.

The Shipper warms: dist:

(a) the shipenents does nal contain any Resirictod Irems, of, albemacively,

thy cfthe Shipments does eomnain Restricted Temes, any acl all Jiconscs, approvals inl permits Wal may be
required Hiner appGcnble laws snd regulations have been obhuined from the proper aulberties, ancl a copy
of each such liccest, anpreval or pesmat ace prewided to DHT. patio to or af Ee time of tendering: the
shipments to DHT

(te) the Shipper is ites ins shipper and exporter of the Shipments; and

(td) the deseviption, valu, consignec, ancl ofber aztociatedd iefonmation and docamends related to the Shipments
ane tee aad aocorohe,

Pon SaPMinTs Sunes Do US Sanco Laws (Ca? Te APR DOABLE):

fo) the Shipments does not contain amy unlicensed or son-cxempt United Statee-origin items or any other ibn
lal arc aubyost to TLS. export oonbrols (ee. aoods pencoced outside the United States containing by value
al least D096 US eootent of iechnolopy or 2% where npplicable),

(h) the Shipper, where the shipecot ig tendered to CAT. cutside the United States: amd its tevifories, has not
and will pe receive Or remal ay United States Dollar (USD) payieonts fer ibe moods being shipped,
whether dersetiy fron the recipient or oomsigner, or indirectly from nny ober person (unless specifically
pemmiibe) by roses or ccnp): arbi

fe) the Shipper, where the shipments ix tendered to DHL cotside the United States anel ae rerrcinories, hag oot

Suoreee"s GnANT OF TNDeMNoo AND BagHrs To en

Inafepstity: The Shipper shall irevecably and uscunditianally hold DHL (including its employers, sarvards,
apents, subsontractors:, epresentatives, imugrers ond me-incurers) fully harmless from and keep DPDHL
{including its coployees, acrvanit, apends, anheoetmetors, mepeesentadiyes, insurers amd re-insorers) fully
indemnified agninet all and amy losses, damages, fins and capemsct whatsoever which it may auffer arising or
meking tron any teach or violation by the Shipper Ginebuding iki employees, servants, apouls, sab-coniractors
aml represemiatives) of ange

1 Worakan (1.6
Chath Sod F-F-14

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Case 1:11-¢v-07550-GBD-SN Document 251 Filed 05/25/18 Pages of 8

[Mebe: They lenter fo ngeleedd dav cag) ieiivGdeal shipment destined to tran, Sytia, Marth) Reena, Sadan, Onenes and Cabs.)

(a) Applicable Sunctina(s}, ce

fb) the represenistiont and warrantics costumed herin, iIncheling oon-declaration o¢ legsl, inpoourabe
andor Inadequate declaration by the Shipper in respect of the shipment of fron any other couse in
conenclion with the Shipment, or the exercise by DAL of any and all of its rights ax sct out bebow (Grant
to DHL").

Conley ith DAL Aeneas The Shipper shall comply with amy and all special handling procedures hal DHL.
may require and implement For the shipencas to comply with « Ganction.

Gran ta fF: Shipper berehy grant: DAHL the right (but mot lie oblipadion) at TYHL.'s discretion to conduct any
ar all of the bolieiape

fa) inspect andlor sercon the Shipments in aeoorcince with applicable laws,

(&) reborn the shipments;

fe) abandon of block the shiprecnts without any farther liahility in the Shipper as equine by applicwble law,

Cc) disclose information related to the shipmenl ea poverment authority in acoordance with applicable laws,

fe) coleane the shipments toa goverment suthorily in accondimce with applicable laws; of
singe the shipment: chiring the exacnination paid and chen digpes: ef or destroy the shipments (all af Che
Shipper's costs) without any further liobility to the Shipper if i becomes apprcent that any of the
Peprtentations or warranties in this Letter are wntne, inaccurate of inoonplets, or if DHL reasonably
beliewes thal such action is seccstary to cnaue its own compliance with applicable laws and regulations.
DHL will take poompt onl reasonable measures to provide the Shipper with racnable advance onfica prior
to paking amy sich action and offer the Shipper a reasonchle oppoctunity to provide the mectseary
darifications to the compliamos maliors al isi.

SHIPPER ACKMOWLEDCEMENT

DHE. accepts the shipment: in full refiames upon the Shipper’: representations, warruntic: aml agreement
ecutained in this Letter, ‘The tenns of this Leber shall prevail over any conflicting terms and conditions of
general camuge of contract, By algeing below the Shipper acknowhedges and aprecs be all provisions of this
Letter,

Signature FY LE Deate: tad cans 24, a018%
Print Mame: Tj é Mellons UE. Tithe: ee

Company ce ee: Law Cart
AMNEX A: DREINTTIONS

Deiie_Drte A personne entity which & inchaiel on an applicoble Sanckom Lish. Noto that ihe iets con cede incomple}= mim,
uidestes and aller details, Por the peopesss of this Easter, dhe fern “Denied Pay” dees pot declude omtifins thot appear on the Sociol
Sanclions telerlifecation List (die “SSL Liars) coainined by the 80 CIRAC oc a comperabic fiat off 5 ambpos! Bo sechonnl savcchoas,
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Sepg¥anfs}: Any applicable coonnmie of Gisnctel cancion egulation, beds cmbergn er ceport central bow or eeguinten iapberetnied,
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eqpmizalions, corporations, pediieal entitles and other pemte: Such ontineiies Jeciods, bet arc ant limited In Lnitcd Noten Recnrity
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Commerce, the United Mingdim (inchefing Her Majeuy's Tresor CHM), Austelinn Dicparimcré of Fercign Afirx del Tucks, aol
any niher eqypiteniear sanciions autteriiy, Collectively, them are deened the “Gonetions Agtbaiies™

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apply(). Ths list my change trem Gane to Ge andl may also be based on [aceon beyond bev,
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Lrtier, Fora Blanket Letier, 2ff shipments by the Shipper afer the deve this Lemer nas enorme,

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Chea TF.

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Case 1:11-cv-07550-GBD-SN Document 252 Filed 05/25/18 Page lof

Unrrep States District Courr
SOUTHERN DISTRICT OF NEW YORE
OFFICE OF THE CLERK
500 PEARL STREET
NEW YORK, NEW YORK 1lO007

Ruby J. Krajick

Clerk of Cavurt

May 22, 2018

lran’s Ministry of Defense and Armed Forces Logistics
cfo Mohammed Javad “art

Minister of Foreign Affairs

Of the Islamic Republic of Tran
Imam Kehmeini Avenue
Tehran, [ran

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Hoglan, etal vo fran etal, fifi ew 07550 (GRMN) |
in Re Terrorist Atlacks on September 11, 2001, 1:03 md 01570 (GRDWSN)

Dear Sir:

Pursuant te the Foreign Sovereign Immunities Act, 28 U.S.C. §1608(a}(3), one copy of

the following documents are being served on you on behalf of the Plaintiff in the above-
referenced action which names your country and/or a government office as a defendant:

(I)
(2)

(3)
(4)

(5)
(8)

(7)

Cover Letter to Mohammad Javad #arif, Foreign Minister of the Islamic Republic of
Iran:

U.S, Dist. Court for the Souther District of N.Y. Clerk's Certificate of Default, dated
March 17,2015 (Heglan Docket No. 89%;

Notice of Default Judgment prepared in accordance with 22 CFR § 93.2;

Order of Judgment Regarding Liability entered by Judge George B. Daniels on August
31, 2015 (MDL Docket No. 3027):

Findings of Fact and Conclusions of Law entered by Judge George B. Daniels on August
31, 2015 (Hogian Docket No. 1113;

Report and Recommendation #1 by Magistrate Judge Sarah Netburn, dated October 12,
2016 (ffaglan Docket No. 171);

Report and Recommendation #2 by Magistrate Judpe Sarah Nethum, dated Qctober 14,

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 4 of 66

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Case 1:11-cv-07550-GBD-SN Document 252 Filed 05/25/18 Page 2 of &

2016 (Aogian Docket No. 172);

Report and Recommendation #3 by Magistrate Judge Sarah Netbum, dated October 24,

2016 (MDT. Docket No. 3374);

Partial Order and Jodgment entered by Judge George RB. Daniels on October 31, 2016

(Heelan Docket No. 178);

Memorandum Decision and Order entered by Judge George B. Daniels on October 31,

2016 (MDI. Docket No. 3383);

Memorandum Decision and Order entered by Judge George B. Daniels on October 31,
2016 (MDL Docket No. 3384);

Memorandum Decision and Order entered by Judge George B. Daniels on June 21, 2017

(MDI. Docket No. 3633);

Report and Recommendation #4 by Magistrate Judge Sarah Netburn, dated August 8,

2017 (Heelan Docket No. 219};

Memorandum Decision and Order entered by Judge George B. Daniels on November 17,

2017 (MDL Docket No. 3795);

Final Order and Judgment on Campensatory Damages entered by Judge George B.

Daniels on February 26, 2018 (MDL Docket No. 3905):

Foreign Sovereign Imemanities Act, 28 U.S.C. $1602, et seq.;

Right to Appeal Notice; and,

Rught to Appeal Form,

Kesp 1)

Clerk of the Court

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Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 5 ot 66
Case 1:11-cv-07550-GBD-5SN Document 252 Filed 0!

UNITED STATES DISTRICT COURT |) DOCUMENT
SOUTHERN DISTRICT OF NEW YORK } ELECTRONICALLY FILED

Doc #
TATE FILED:

HOGLAN et al ;
Plaimtiff{s} CERTIFICATE OF MAILING

Case No. iiiewo07550 (ghd)

ISLAMIC REPUBLIC OF IRAN etal

Defendant(s}
Thereby certify under the penalties of perjury that on ct} day of May 208, lserved:
_ran's Ministry ¢ a Defense and Armed Forces Logistics ofo Mohammed Javad Zarif Minister of 13
reign Aftair islamic Republic of lran imam Kehmeint Avenue, Tehran, bran
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foreign slale, puorsmant to the provisions of FRCP 4( A{F)2(cMiid.

One copy of the See attached Rider. oe

by DHL 2569189033 — to the head of the ministry
of foreign affairs, pursuant te the provisions of I ‘oreign Services Imununities Act, 2% U.S.C. §
18a C3),

Twe copies of the os =
by ia ee .tothe Secretary of State,

Attn: Director of Consular Services, Office of Policy Review and Inter-Agency Leuson
(CA/OCS/PRI}, U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW, Washington, DC
20420, pursuant to the provisions of Foreign Services Immunities Act, 28 U.S.C. § 1608(a)(4).

One copy of the

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by _ a - to the head of the agency or
instrumentality of the foragn state, purswant to the provisions of Foreign Services Immunities
a a8 U.S.C, § 1G08(b3 HB}.

Datta ‘New voit New. York

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oe RUBY J. KRAJTICK
CLERK OF ae
\ if} Ld. | F

Print Name: Jashira Carlo.
DEPUTY CLERK OF COURT

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 6 of 66

Case 1:11-cv-07550-GBD-SN Document?5? Filed 05/25/18 Page 4 ofé

Attached Rider

The documents to be served on all of these Defendants are as follows:

(1)
(2)

Cover Letter to Mohammad Javad Zarif, Foreign Minister of the Islamic Republic ofiran;

US. Dist. Court for the Southern [strict of NYY. Clerk's Certificate of Default, dated
March 17, 2015 (Hoglan Docket No. 89);

Notice of Default Judgment preparcd im accordance with 22 CFR § 93.2)

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2016 (Hoglan Docket No. 171);

Report and Recommendation #2 by Magistrate Judge Sarah Netburn, dated October 14,
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Memorandum Decision and Order entered by Judge George B. Daniels on October 31,
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(MDL Docket No. 3633};

Report and Recommendation #4 by Magistrate Judge Sarah Nethum, dated August &, 2017
(Hoglan Docket No. 219);

Memorandum Decision and Order entered by Judge George B. Daniels on November 17,
2017 (MDL Docket No, 3795);

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(1a)
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Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 7 of 66
Case 1:11-cv-07550-GBD-SN Document 252 Filed 05/25/18 Page 5 of 3

Final Order and Judgment on Compensatory Damages entered by Judge George B, Danicls
on February 26, 2018 (MDL Docket No, 3905);

Foreign Sovereign Imemnities Act, 28 U.S.C. § LQ, ef seq;
Right to Appeal Notice; and,
Right to Appeal Form.

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-SN Document 320-2 Filed 02/22/20 Page 8 of 66

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Case 1:11-cv-07550-GBD
Case 1:11-cv-0F550

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Case 1:11-cv-07550-GBD-SN Document 252 Filed 05/25/18 Page 7 of 8

[Mote: This iether Is required Ion each inlivklesd stapment destined to iran, Sy, Kewth Bonen, Sudan, Cree pad Gee, j

GENERAL SANCTIONS WARRANTY AND INDEMMITY LETTER

Shipment Detalla/alr Waybill Number Dil L Expres3|95- is Is “935

This Sancthons Warranty and Indemnity Letter (tris “Leuer™) details the mnderstmding between

A owas E. Melbens DF Shipper") and DBL Express (“DHL") and clarifies | the
reprsentitions andl warrantica Shipper peovides to DHL with reapect to the potential impact af ecompmic.
sanctions laws and repelations upon the Shipment. Capitalized terme used herein arc defimed in Annex A to this

Leber,

SHIPPER IRRERY REPRESENTS AND WARRANTS TO DPOHE THAT:

Seppe Ss RUPE ESN TATIONS ANT WARRANTIES WITH Rasrpece Tey See

Shipper is not a Denied Party, or in omy way ilentifierl, cithor specifically or by referenoc, on amy applicable
Sanctions: List cued pursuast to a Suncion(s) issued by a Sanctions Authority. Shipper is ecither owned nor
controlled by a Denied Party.

Shippor hos comlucted effective due difigence on ihe Shipment’s cocipients, any keen ond-waere nna all
eoosipnecs. To the beet of Shipper's kowwkulge, tendering the shipments to DAL ond its delivery by DELL te its
intended] destinalbons: asxifoe end-esers will pot; 1) Coastilts a breach ar violation af any applicable Sanciean:
oc 2) Expense DHL to any Sanction or ponalty imposed ho any Sanctions Authority.

SHIPPERS REPRESHROCATIONS AND WARRANTIES WITH REePecr To Te S1ueMENT

The Shipper warrdails chat:

ta) the shipments docs net contain any Restricaed Themes, or, albemativaly,

(b} ifthe Shipments docs contain Restricted Ibems, any and ol] lies, approvals and permits Gral may bee:
required under applicabls laws and regulations have beon obtained from the proper anthocities, and a copy
of ench such license, approwdd or permit are provider! to DAIL prior be or at the tioee of tendering the
shipinesia mo DHL:

fo) the Shipper is the ros chipper and exporter of the Shipsacats; and

fd} the description, value, consigess, and other sesociated information and docume|nts related to the Shipment:
are tines aed accanihes,

For Suirmnerck SUnTRCT To LES Sancrrons Laws (Dee yt ATPLICABLE:

fa} the Shipments does not contain any unlicensed or mocecxempl United Stobes-orlgin tems on ony other ile:
that arceubject te LS. expect comwols ftp. poods prodoced natside the United States comlalnbog by value
at beast 104 US eontent or technology or 25% wher: applicable}

ib) the Shipper, wheee the chipment is tendered to DHL oowade the United States and its ferminsios, has mot
andl Wall mot receive or remit any Unrated States boar (LST) payments for the poods belng shipped,
whether directly from the recipient or consignes, of indirently from any other person (unless specifically
permitted! hy license or cxemption)); and a

{fc} the Shipper, where the shipments is tendered to DHL ootgide the United States and] ate torribories, heat ot
andl will oot pay DELL for the Shipments or for any other services in USD,

SUEFPER’S GRANT OF INDEMNIT ANG Regis To De.

Iedennaify: The Shipper shall inevocably and unconditionally hoki DHL. finchuling ts employees, servants,
apentt, subcontractors, ecpecsentalives, insurtet and re-insurees) folly harmless from and keep DPD.
(ineloding its employees, acrvants, agents, sabcuntractors, repecsematives, insorers amd re-insurers) fully
indemnified against all and any loses, dansapes, fines and expenses whatsoever which it may suffer aising or
resulting From any brewch or vinkion by the Stupper (lnchading its emplnyess, servanks, agents, sub-cobiractors
aml representatives) of acy:

I Worsion OF

Thandie: 017-07: 14 <<

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 10 of 66
Case 1:11-cv-07550-GBD-SN Document 252 Filed 05/25/18 Page 8 of 8

Privte: Thi: letter is sequined lor each indivkival shipment deine to lean, Syria, Morth ores, Sudan, Cri ote! Catia, |

(a) Applicable Sanction(a), ar

{h) the representations amd warranties contained heccin, inchiding non-declaration or Ulepol, inaccurate
and/or inadequate declaration by the Shipper in respect of the shipment o¢ from any other cause in
connection with the Shipment, or ihe exercise by DUL.of any and ait of ita rights os set out below (“Grant
te DHL").

lols saith DNL Actions: The Shipper shall comply with any ancl all spect) handling procecheres that DELL
inst require and Lmplement for the shipments to comply wilh a Sanction.

erat ta CHAT: Shipper hereby prants THI the right (bud oot the obligation) of DYIL"s discrcthon bo conduct amy

or all of the following:

(fa) mepect andlor sereen thes Shipments in aceondance with applicaibke laws;

(bh) reborm the shipments:

fe) abandor oe bieel: the shipments: without any furlber Gabliny bo ibe Slipper as cecpairedd by applicable law:

{dl} disdloss information related oo the shipment to a poverment authority is acconlance with applicable laws,

(2) relense the shipments tos povermmeent autheriry mt accordance with applicable laws; or
plore. the shipments ducing the examination ported and then dispose of or destroy the shipencats (al at the
Shippor's code) without any further liability to the Shipper if it becomes apparcot that amy of the
representations or warranties in that Leter are unicue, ismocurate or incomplete, or tf DHL reasonably
believes that such ection is necessary to enue its am compliance with applicable laws and regulators.
DHL. wall jake prom and reasonable measures to provide the Shipper wiih reasonable advance natice pricr
to taking any sach action and offer the Shipper a rotionable opportanity to provide the necessary
clarifications to tne compliance matters at issac.

SHIRFER, ACK NOVA ResiraannT

DHL sceeple che shigiments in full reliance upon the Shippers ropeosontations, warranties and agreement
eeotaines! in this Leticr. The teem of this fetter shall prevail over any coaflicting terms onc comlilions of
pencrol carriage or contrac. By signing below the Shipper ackmowledpes and agrees to all provisions of this
Losi bes.

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pene reeks €. Met les st MS A Hokwey
Company Mare:
Mellia Law Fitet ieee ‘ows

iiemied Porte A petten er euiny whieh Is included on an appheshie Sanctions List Mote drei ie (lst can inched incompics: mrerr,
nkeecses ond oltier dtaike, For the peeposed of his Lets, ihe tec “Denied Party" doce oo dechude colities thal appear oe the Gechnal
Senciiows Idemifieation (ist (lho “SSE Ligi") maintains! by the BU, RAC of a cnesp list ef | hye te sectoral sanctions
aingsieed by the BL, 5, cle.
Letter: This Sanctum Warcinty and Indemnity Letter.
Rigptiictel frome: Any item the ix ther powiively ineladed oa omy st of goods tho imparticxporttucndt of bith ii profubited by
applicable Saction(s) 0 whem pocitively ret authorized by applicable Svcrorels
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adeniaisiered or caforaed by. Saavetions Avathiogiry.
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qofherity bo-enaet aid implemen! applicable cenmeme: andor finareal sanctions regeliions or other econ conlink: opr ielivedack,
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Cmemerec, the Unned Kingdor finckafiag Her Majeuys Tenure (CHMT)), Aneareion Department of Force Adfaire eetdl “Trade, tal
any ciheraquivaicnl cenctiaed aniliacity. Collecively, those am deceel the “Ranctines Authoriics”.
i Linics A fed of ganctined eatiies Ge, Denied Portics), peersally consisting af nore of the sactoned IndiyMinals, entzies asa
aronciatel details (edéressce, localities, nbicraz).
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Case 1:11-cv-07550-GBD-SN Document 253 Filed 05/25/18 Page 1 of 8

Unirep Stares Disteicr Courr
SOUTHERN DISTRICT OF NEW YORE
OFFICE OF THE CLERK
500 TEARL STREET
NEW YORK, NEW YORE LOT

Ruby J. Korajick
Clerk af Court

May 22, 2018

[ran's Ministry of Economic Affairs and Finance
clo Mohammed Javad “arif

Minister of Foreign Affairs

Of the Islamic Republic of Tran

Imam Kohmein Avenue

Tehran, Iran

Re: Noglan etal vi dran, et al tcf) ev OF 550 (GBDNEN)
In Re Terronst Attacks on September 11, 20801, 1:03 md 01570 (GBD\WSN)

Dear Sir:

Pursuant to the Foreign Sovercign Immunities Act, 28 U.S.C. §1608(a)(3), one copy of
the following documents are being served on you on behalf of the Plaintiff in the above-
referenced action which names your country and/or a government office as a defendant:

(1) Cover Letter to Mohammad Javad Zarif, Foreign Minister of the Islamic Republic of
Iran;

(2) U.S. Dist. Court for the Southern Distriet of N.Y. Clerk's Certificate of Default, dated
March 17,2015 (Soglan Docket No. 89);

{3} Notice of Default Jadgment prepared in accordance with 22 CFR § 93.2;

(4) Order of Judgment Regarding Liability entered by Judge George B, Daniels on August
31, 2015 (MDL Docket No. 3027);

(3) Findings of Fact and Conclusions of Law entered by Judge George B. Daniels on August
31, 2015 (Hogion Docket No. 111;

(6) Report and Recommendation #1 by Magistrate Judge Sarah Netburn, dated October 12,
2016 (Hoelan Docket No. 171);

(7) Report and Recommendation #2 by Magistrate Judge Sarah Netburn, dated October 14,

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 12 of 66
Case 1:11-cv-07550-GBD-SN Document 253 Filed 05/25/18 Page 2 of 8

2016 (Hogian Docket No. 172);

(8) 9 Report and Recommendation #3 by Magistrate Judge Sarah Netbum, dated October 24,
2016 (MDL Docket No, 3374);

£9) Partial Order and Judgment entered by Judge George B, Daniels on October 31, 2016
(Hoglan Docket No. 178);

(10) Memorandum Decision and Order entered by Judge George B. Daniels on October 31,
2016 (MDL Docket No. 3383);

(11) Memorandum Decision and Order entered by Judge George B. Danicls on October 31,

2016 (MDL Docket No. 3384);

(12) Memorandum Decision and Order entered by Judge George B, Damels on June 21, 2017
{MDL Docket No. 3633);

(13) Report and Recommendation #4 by Magistrate Judge Sarah Netburn, dated August 8,
2017 (Hoglan Docket No. 219):

(14) Memorandum Decision and Order entered by Judge George B. Danicls on November [7,
2017 (MDL Docket No. 3795);

(15) Final Order and Judgment on Compensatory Damages entered by Judge George B.
Daniels on February 26, 2018 (MDL Docket No. 3905);

(16) Foreign Sovereign Immunities Act, 28 U_S.C. §1602, et seq;

(17) Right to Appeal Notice; and,

(18) Right to Appeal Form,

Respectfully yours,

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Clerk of the ©

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Case 1:11-cv-07550-GBD-SN Document 253 Filed 05/75,

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HOGLAN et al

Plaintiffs)

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Defendant(s)

L hereby certify under the penalties of perjury that on OB day of May __ x

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CERTIFICATE OF MAILING

Case No. :1Lewo7s50 (qbd

_JIran's Ministry of Economic Affairs and Finance co Mohammed Javad ZarifManigterof i!
Foreign Alfairs of the Islamic Republic of iran Imam Kohmeini Avenue, Tehran, Iran__

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of foreign affairs, pursuant to the provisions of | Foreign Soryices Tmnwnities Agl, 28 USC, &

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, to the Secretary of State,

Attn: Director of Consular Services, Office of Policy Review and Inter- ~Agency Liaison
(CA/OCS/PRI), U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW, Washington, DC
20320, pursuant to the provisions of Foreign Services Immunities Act, 28 U.S.C. § 1a0k{aW4).

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CLERK OF COURT A

DEPUTY GLERK OF COURT

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Attached Rider

The documents to be served on all of these Defendants are as follows:

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2017 (MDL Docket No. 3795):

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 15 of 66

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Case 1:11-cv-07550-GBD-SN Document 253 Filed 05/25/18 Page 5of8

Final Order and Judgment on Compensatory Damages entered by Judge Creorge B. Daniels
on February 26, 2018 (MDL. Dockel No, 3905);

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Right to Appeal Notice; and,
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sanctions laws and repalation upon tbe Slaipment Capitalized terms used herein are defined im Amex AL oe this

Letter.

SHIFTER AERERY REPRESENTS AND WARRANTS TH) DPDML THAT:

Shipper is not a Denied Party, of in any way idenlified, sither specifically of by refcrenes, on any applicable
Sanctions List issued pars boa Sanction(s) meued by a Sanctians Authority. Shupper & acklher owned nor
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Shipper has comiucted effective duc diligence on the Shipment’s recipients, any known end-users ured all
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Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 18 of 66
Case 1:11-cv-07550-GBD-SN Document 253 Filed 05/25/18 Page 8 of 8

[Mees The lether Ee required for eact indbei ual shipment destined to Iran, Syria, Month Korea, Sudan, Crimea grub Cuba}

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Case 1:11-cv-07550-GBD-SN Document 254 Filed 05/25/18 Page 1of8

Unitep Stares District Court
SOUTIERN DISTRICT OF NEW YORK
OFFICE OF THE CLERK
RO) PEARL STREET
NEW YORK, NEW YORE 10007

Ruby, Krajiele
Clerk of Court

May 22, 2018

Iran's Ministry of Commerce
clo Mohammed Javad “arif
Minister of Forcign Affairs

Of the Islamic Republic of Tran
Imam Kohmeint Avenuc
Tehran, [ran

Re:  Hoglon, et al v. fran, et al, {11 cv 07550 (GBDMSN)

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In Re Terrorist Attacks on September 11,2001, 1:03 md 01570 (GBD)(SN)
Dear Sir:

Pursuant to the Foreign Sovereign Immunities Act, 28 U.S.C. $1608(a)(3), one copy of
the following documents are being served on you on behall of the Plait] in the above-
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(13 Cover Letter to Mohammad Javad “arif, Forcign Minister of the Islamic Republic of
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2016 (Hoelan Docket No. 1713;

(T) Report and Recommendation #2 by Magistrate Judge Sarah Netbum, dated October 14,

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Foreign Sovereign Imrumnities Act, 28 U.S.C. §1602, et seq.;

Right lo Appeal Notice; and,

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Respectfully yours, .

Clerk of the Court

Ene.

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK. ee. FILED

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HOGLAN et al ee
Plaintift(s) CERTIFICATE OF MAILING

Case Nor Wwitew07s50 (gb

ISLAMIC REPUBLIC OF IRAN et al

Defendant(s)

[ hereby certify under the penalties of perjury that on ¢/ojday of May 2048, I served:
Iran's Ministry of Commerce cfo Mohammed Javad Zarit Minister of erates :
Foreign Affairs of the Islamic Republic of fran imam Kohmeini Avenue, Tehran, Iran Se

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by DHL 25691R7585 to the head of the ministry
of foreign affairs, pursuant to the provisions of Foreign Services immunities Act, 28 TLS. §
1608(a)(3).

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by i ; ___, tothe Seeretary of State,

Attn: Director of Consular Services, (Hfice of Policy Review and Inter-Agency Liaison
(CA/OCS/PRD, U.S, Department of State, SA-29, 4"" Floor, 2201 C Street NW, Washington, DC
20520, pursuant to the provisions of Foreign Services Immunities Act, 28 U.S.C. § 1608(a){(4).

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RUBY J. KRAJICK
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The documents to be served on all of these Defendants are as follows:

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(MDT. Docket No. 3633):

Report and Recommendation #4 by Magistrate Judge Sarah Netburn, dated August , 2017
(Hoglan Docket No. 2719):

Memorandum Decision and Order entered by Judge George B. Daniels on November 17,
2017 (MDL. Docket No. 3795):

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 23 of 66

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Case 1:11-cv-07550-GBD-SN Document 254 Filed 05/25/18 Page 5 of 8

Final Order and Judgment on Compensatory Damages centered by Judge George BG. Daniels

an February 26, 2018 (MDL Docket No. 3905);

Foreign Sovereign Immunities Act, 28 U.S.C. 91602, et seq.;
Right to Appeal Notice; and,

Right to Appeal Form.

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Case 1:11-cv-07550-GBD-SN Document 254 Filed 05/25/18 Page 7 of 8

[oee: This Lolber is required fee each Individual shipment destined te ttan, Sytia, Marth Korea, Sudan, Cried andl Cuba]

GENERAL SANCTIONS WARRANTY AND INDEMNITY LETTER

Shipment Details/Air Waybill Number THHL eypress] 95- KIS - F585

This Sanctions Warrenty and Ipgemmity Letter (this “Lethe dcteils the understanding hetwioen
© B. fella: ie c'shipps) ant DML Expres (“DRL") and clarifies the
sentalions and warranties Shipper provides to DEL with reapect te the potential impact of econonnc
sanetiona laws and regaletions upon the Shipment, Capitalized terms ooed herela are defined in Amnex A. bo this
Latter.

SHIPPER HERERY REPRESENTS AND WARRANTS TO DPDHE THAT:

SHIPPERS REPRESENTATIONS AND WARRANTIES Winn Resin To SEPP

Shipper it wot a Denied Party, oc in any way identified, cither specifically or by references, on any applicable
Sanctions List ixwed pursuit toa Sanction{s) isu by a Sanctions Authority. Shipper is nities: Gand nor
eantrelle:dl by # Deniexd Party.

SHIPPERS REPREEENTATIONS AND WARRANTIES WITH RESPECT To THE COMSIGMEE(S) Ane ENiy-LisifS)

Shipper har cnndacied effective duc diligence on the Shipments recipients, any kncwn exusers ane all
condgnces. To ihe beat of Shipper’s knowledge, tondcring the shipments by DHL ancl ans detivery har TTL. tes ils
intended deslinalions andor end-users will met: 1} Conslizute a bregch or violation of any applicable Sanction;
of 2) Expose DEI. to any Sanction oc ptoalty imposed by any Sanctions Authority.

SHIPPERS REPRESENTATIONS AMD WARRANTIES WITH REST To THE SHIPMENT

The Shipper warraais that:

fo) the shipments does not contnin my Restricled Tums, oc, altecatirecty,

(b} ifthe: Shipments docs comain Restricted Items, any and all licerses, appeovals ancl permits that may be
required under applicable laws and regulations have been obtained from ibe propor auilewities, and a copy
of each such bicense, aapeevel or permil are provided to DHL prior to or at the time: of tendering the
shipments ta DAL:

fc} the Shipper is the tose shipper and expocter of the Shipments, and

f@) the description, value, consignee, andl ober maoctaled information and documents related bo the Shipments
are tone ans] accorate.

GOR SHIPMENTS SuGueT To LE SA8C ONS Laws (ONLY TF APPLICABLE

{a} the Shipatats doce fot contain any unlicensed of mon-exempt United Sttes-origio wees or any other items.
that are subject br LS. cxpeet conbrols feo. poods prodweed outside the United Sates onntaining by valos
aa beast 1% LES content of ieclnology oc 2% where applicable);

(h) the Shipper, where the shipment is tendered to CYA. outside the United Statics ancl its tenotorics, bas not
ami ail] nt receave or remit any United States Dole (USD) payments for the goods being shapped,
whether dimetly from lhe cceipoent or consignee, or indirectly from amy other person fiber: specifically
pernited by license or exemption); and

fe) the Shipper, where the shipments is tendered to DELL oatsi¢h the United States and fs torribories, has neat
and wil not pay DTTIL. for the Shipments oe for my other serviecs bn ESE.

SHiptee”S GRANT OF INDEMNITY AND Bugis TO DHL

Irdeuuite The Shipper shall inevocably oad unconditionally bold DHL (imeluting tx employees, servants,
ogenls, subconirneters, representatives, insurtr and reinsurers) fully inwmies from aed keen DPC.
iincleding is employees, servants, agents, subcontractors, representqtives, insurers amd ro-tecucrs) fully
iofemnified apainst all and sy loseet, domnapes, fines amd expenses whatsoever which bt may suffer arising or
resulting fromm any breach or violation by the Shipper (inchoding its employees, sarvints, agents, sab-conbractors
aml representatives) of any:

Version Ot
Onto 2017-07-14

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[Hides this letler i. regained! lar cach individual shigesent destined bo iran, Gyula, Merih Korea, Swan, Crievea anil Cai |

{1} Applicble Sanctinn{s), or

ib) the representations aud wasventics contained herein, including noc-declarstion or illegal, imrocurate
and/or inadequate declaration by the Shipper in respect of the shipment or from any olber cause it
commection with de Shigneent, or the exercise by DHL of any and all of its rights as set out below (“Grant
to DHL},

Cloeih wai UWL Actions: ‘The Shipper shell comply with any and all special bandliog procedomes that DHL
muy require and iplenet for the shipments to comply with a Sanction

Gere fe De Shipper hereby grant: DOL the right (hut sot the obligation) at DAML"s discretion to conduct any

or all of the fetlownnig:

(a) inepeet afer screo the Shipmends in oecordance with applicable lewe;

(hb) eeharn the: shipments;

fe} obandon ov block the shipments withnat any Further Gabiliny co the Shipper as required by applicable law,

0) disclose information related to the shipment toa powemumment authecity in accordance with applicable buws,

fe) colenes the shipments tna poverniment uolborty in accordance with applicable Laws, ar
sore the shipments during ihe ccomination period and then dispose of o¢ destroy the shipments (alll at the
Rhipper's costs) without any further ability to the Shipper if it becomes apparcadt that any of the
representations or warmanties in this Letter are untres, inaceueate oc incomplete, or if DETL reasonably
belicves that auch action is necessary te ensure its awa compliance with appliceble laws and regulating:
DAL. will take prompl and reasnable meacetos bo ponies the Shipper with reasonable advanss sotiee prior
bo taking any euch action and offer the Shipper a reasonable opportanety bo provide the mecesary
clarifications bo the compliance mailers af bs.

SHEER ACKNOWLEDUEMENT

DHL. accepts ihe shipeents in full cefianes upon the Shipper’s mepresentations, warcantice and agreement
eoalained in this Letter. The terms of this Letrer shall prevail over any conflicting toot and comditions of
general confiage of ouMcact By signing below the Shipper achoowlolpes ad apres: te all provisions of this
Letter.

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tre a Ee. Mellen TIC. ‘Tit: AUS
Company Mame:
Me [lpn Low fa ANNEX A: DIGEINITIONS

dreafed Caofe A pom or eniity which if incheded on on applicable Sancnons Lat. Mote thal Ge Gate can nechide ancompleie Teuncs,
algreies and ciher detells, Por the perpoees of thie Latte, ube ten “Denied Party” docs net ieciute cnlities Feet appear oe the Seciceal
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Letter. Fora Biaeiet Leber, afl Skdpereaie bey the Schipper afl tic dake Whig Letter was oxecuied.

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Case 1:11-cv-07550-GBD-SN Document?55 Filed 05/25/18 Page lofé

Usrrep Stares District Court
SOUTHERN DISTRICT OF NEW YORE
OFFICE OF THE CLERK
500 PEARL STREET
NEW TORK, NEW YORE 1LoooT

Ruby J. Krajick
Clerk of Court

May 22, 2018

Iran's Ministry of Petroleum
oo Mohammed Javad Aan!
Minister of Foreign ATatrs

Of the Islamic Republic of Iran
Imam Kohmeini Avenue
Tehran, Iran

Re: Aogian, etal. v fran, etal I: h cv 07530 (GBRD)ASN}
In Re Terrorist Attacks on September 11, 2001, 1:03 md 01570 (GERD\W(SN)

Dear Sir:

Pursuant fo the Foreign Sovereign Immunities Act, 28 U.5.C. §1608(a)(3), one copy of
the following documents are being served on you on behalf of the PlaintifT in the above-
referenced action which names your country and/or a government office as a defendant:

fl) Cover Letter to Mohammad Javad Zarif, Foreign Minister of the Islamic Republic of
Iran;

(2) U.S. Dist. Court for the Southern District of N.Y. Clerk's Certificate of Defaull, dated
Merch 17, 2015 (Goglan Docket No. 89):

(9) Notice of Default Judgment prepared in accordance with 22 CFR § 93.2:

(4) Order of Judgment Reparding Liability entered by Judge George B. Daniels on August
31,2015 (MDL Docket No. 3027);

(5) Findings of fact and Conclusions of Law entered by Judge George 3. Danicls on August
31, 2015 (Hogian Docket No. 111);

(6) Report and Recommendation #1 by Magistrate Judge Sarah Netburmn, dated Oetober [2,
2016 (ffoglan Docket No. 1713;

(7) Report and Recommendation #2 by Magistrate Judge Sarah Netbum, dated October 14,

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 28 of 66

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Case 1'11-cv-07550-GBD-SN Document 255 Filed 05/25/18 Page 2 of 8

2016 (Haglan Docket No, 172);

Report and Recommendation #3 by Magistrate Judge Sarah Nethum, dated October 24,

2016 (MDL Docket No. 3374);

Partial Order and Judgment entered by Judge George E. Damels on October 31, 2016
(fFoglan Docket No. 178);

Memorandum Decision and Order entered by Judge George B. Daniels on October 31,
2016 (MDL Dockel No. 3383);

Memorandum Decision and Order entered by Judge George B. Daniels on October 31,
2016 (MDL Docket No. 3384):

Memorandum Decision and Order entered by Judge George B. Daniels on June 21, 2017
(MDL Docket No. 3633);

Report and Recommendation #4 by Magistrate Judge Sarah Nethurn, dated August 8,

2007 foglan Docket No. 219);

Memorandum Decision and Order entered by Judge George B. Daniels on November 17,

2017 (MDL Docket No. 3795);

Final Order and Judgment on Compensatory Damages entered by Judge George B.

Daniels on February 26, 20178 (MDL Docket No. 3905);

Foreign Sovereign Immunities Act, 28 USC. $1602, et seq.

Right to Appeal Notice; and,

Right to Appeal Form.

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DATE FILED:

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HOSLAN et al °
Plaintiti¥s) CERTIFICATE OF MAILING

Case No: illevarsso  (gbd

-Y-

ISLAMIC REPUBLIC OF IRAN et af

Defendant(s)

Thereby certify under the penalties of perjury that on a day of May ee
fan's Ministry of Petroleum cfo Mohammed Javad Zarif Ministerof 7 ee
Foreign Affairs of the Klamic Republic of iran imam Kehmelnd Avenue, Tehran, ran

One copy of the

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foreign staic, pursuant to the provisions of FRCP 4(f)2(cKii)

x One copy of the See attached Rider.

by DHL 2569187062 . to the head of the ministry
of foreign affairs, pursuant to the provisions of Forgign Services Immunities Act, 28 U.S.C. §
1 6((ap(3).

| Twocopiesofthe

hy wlothe Secretary of State,
Adin: Director of Consular Services, Office of Policy Review and Inter-Agency Liaison
(CAJOCS/PRD), U.S. Department of State, 8A-29, 4" Floor, 2201 C Street NW, Washington, DC
20520, pursuant to the provisions of Portign Services Immumities Act, 28 U.S.C. § [608(n)(4).

One copy of the base thes Seer eee pees

by . to the head of the agency or
instrumentality of the foreign state, pursuant to the provisions of Foreign Services Immunitics
Agty 28 U.S.C. § 1608(b)(3)(B).

Dated: Nev AD York

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RUBY J. KRAJICK
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Case 1:11-cv-07550-GBD-SN Document ?55 Filed 05/25/18 Page 4 ofé

Attached Rider

The documents to be served on all of these Defendants are as follows:

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Cover Letter to Mohammad Javad Zarif, Foreign Minister of the Islamic Republic ofiran;

LS. Dest Court for the Southern District of N-Y. Clerk's Certificate of Default, dated
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Report and Recommendation #1 by Magistrate Judge Sarmmh Netburn, dated October 12,
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Report and Recommendation #3 by Magistrate Judge Sarah Netbum, dated October 24,
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(MDL. Docket No. 3633);

Report and Recommendation #4 by Magistrate Judge Sarah Netbum, dated August €, 2017
(Hoglan Dockel No. 219);

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2017 {MDL Docket No. 3795);

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(13) Final Order and Judgment on Compensatory Damages entered by Judge George B. Daniels
on February 26, 2018 (MDL Docket No. 3905):

(16) Foreign Sovereign Immunities Act, 28 U.S.C. $1602, et seq.;
(17) Right to Appeal Noties; and,
{18} Right ta Appeal Form.

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Case 1:11-cv-07550-GBD-SN Document 255 Filed 05/25/18 Page 7 of 8

[heote: This letter is required foreach indhvidind chipmoed destined to Iran, Syls, Morth Korea, Sesion, Crave ceed Coal, |

GENERAL SANCTIONS WARRANTY AND INDEMNITY LETTER
Shipment Detalis/Air Waybilt Number LAL Exprosey 95 - (Alb - 4060

pias Warranty and Indemaity Letter (thes “Letter*} details the unrierstamding between
re

Halt €. Meflents3I ("Shipper") and DHL Express (“DHL”) and clarifies the

ehiations and Warranties Shipper provides to DEL with respect to the potential impact of economic

mnctiens few ond regulations ape the Shipment, Capitniized hems wed herein are defined in Annex to this
Leater.

AIUPPER WEREBY REPRESENTS ANT: WARRANTS TO DPD THAT:

SEPP DRS REPRESENTATIONS AND WARKANTIOS WITH RESPECT TC SHIFFUR

Shipper is not a Denied Party, or in any way identified, cither specifically ac by ceferener, on amy applicable
Sanclions Liat iaued pursuant to .2 Sunetion(s) issacd by a Sanctions Authority. Shipper ia neither owned mor
contrelled by a Denied Party.

SHIPPER’ REPRESENTATIONS AND WARRANTIES WITH Kusputr To THE Consagyin(s) Apa Biaty-LsenfS)

Shipper has conducted effective disc diligence on the Slupmicet's recipients, any known ead-asers and all
comipnece. To the best of Shipper's knowledge, tendering the shipments to DHL and its delivery by DHL te its
intended deslinations andor end-users will net: 1) Constitute 3 breach or violation of any applicable Sanction;
or 2) Expese DML to amy Sanction or penalty impeded by any Saoctions Authority.

SHIPPUR' Ss REP ROSRAT CATIONS AND WARRARTIGS Wit RESreoT To THE SaeeeT

The Shipper warrarncis thal

(a) the shipments does nut contain ony Restricted lnarc, or, altematively,

(bh) if the Shipments does comain Restricted Inems, any and afl licenses, appecvals arnt perenits Chad cay bs
_-Peiqueiced under applicable laws ard regulations have been obtained from the pooper anthorities, and a copy

"of ench such license, apprewall or penmit are provided to DHL prior ta or mt the time.of tendering the:

chips be OES
fe} the Shipper is the tne chipper and exporter of the Shipmncots; anc :
fa) the description, value, comeipner, end other associated information and documents related to the Shipments
are bone and accurate.

Fos SEneMEnn Sumer To LS Sancomons Laws (ONLY IF APPLICABLEY

fa} the Shipments dees sat contain any enlicensed o¢ non-exempt United Statcs-orrgan items or any other items
ibal ace anbject to TLS. export cunicols (e.¢.. ponds prodeced oabtsnde the United States comune by valiss
at leset 108% LS content ov technology or 25% where applicable);

(h) the Shipger, where the shipment is tendered to DHL guiside the United States and its texritorics, has mot
and will not rocehes or cemit amy Lintted States Dollar (LST) payments for the goods being shipped,
vehether directly from the recipient or consignee, of indirectly from any other person (unless specibcally
penmitied by license or exempliva); acl

ie) the Shipper, where the ghipments is tendered to DHL ompide. the United States and te tepitories, has nat
und will not poy DHL for the Shipmesits or foe any other serviecs in TST.

Severn: Gs AK Cle INDEMNITY Arb Rages To Cae.

Ineenpnity: “The Shipper aheall inevncahly and ancanditionally hod DIL finclading ite employes, servants,
agents, subonutractors, mpresentatives, inswrss and re-insurecrs) folly hanmies: from and keep DPDORL
(nehvling its employes, servanks, agents, subeonimetors, represenialives, iantrs and ce-insurers) fully
indemuified apainst afl and any losses, damages, fines and capenses whatsoever which it may suffer arcing or
geguiting: from any beeach or violation by the Shipper including its employers, servants, agenis, seb-conbractors
and representalives) of any:

1 Wirsaont OE
Dane SO F-07-04

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Case 1:11-ev-07550-GBD-SN Document 255 Filed 05/25/18 Page 8 of 3

[Mote: This better borequitve! dav eacs indbidual shigment clestined bo loan, Syria, North Korea, Madan, Cr inva feted Cuba.]

in) Applicable Sanetion(2i, ar

ib) the repesentations and warranties contained bore, incloding non-declaraiion oF egal, imaccusait
nedéor inadequate declaration by the Shipper in respect of the shipment or from amy other cast in
cenmoction with the Shipment, or the exercise by DAL of acy and all of its rights as set ot below ("Grant
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Comply seit OBE Actions The Shipper shall comply with any and all special handling procedures that DHL.
may require and implement for the ahipncers to comply with a Sanction.

Geese fo SG0: Shipper hereby prants: DEOL ibe sight (hot not the obligation) at D1". discretion be conmdloct ny

arall of the following:

(2) inspect uncer screen the Shipments in occordance with applicable laws;

(i) retun the shipments;

fe} thanden or block che altpments witheat any fortbor liabslity bo the Shipper as rogaiced by agyplicaibe law;

fd) disclose infarmation reluted to ibe shipment to a government authority in acendance with applicable laws;

fe) release the ehipments toa government authority in accordance wilh applicable laws; or
ghore: the shipments during the examination period and then dispose of o¢ destroy the shipments (all at the
Shipper's costs) withoul any further liability to the Shipper if it becorscs apparent that any of the
represcniations of wantentics in this Leber are ontroe, iboonrabe or incomplete, or if DHL reaponabhy
believes thal such action is necessary to ensure its owen compliance with appficahle lows and ragulations,
THIEL. will take prompt and ressionable measures bo provide the Shipper with reasonable alvance noties prior
to taking any sich acliog and offer the Shipper a rentonable opportanaty to provide the nooossary
elarfiealions to the compliance malbors at ise,

SHiReRE ACKNOWLEDGEMENT

DHL accepts the shipments in Coll ecliames upon the Ehippor's ropresemiation:, warrantics ark ageocment
contained in this Letter. The terms of this Letter shall peevail over any conflicting terms and conditions of
general carriage of conteact. By signing below the Shipper acknowledges and agrees bo all pearisions oF this

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Germany Prefered Rank, he U.S. Department of the Troan’: Offic: of Foreign Arcot Contml (RAC), the LS. Departments of State or
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Case 1:11-cv-07550-GBD-SN Document 256 Filed 05/25/18 Page 1of&

Unite Otares District Courr
SOUTHERN DISTRICT OF NEW YORK
OFFICE OF THE CLERK
500 PRARL STREET
NEW YORK, NEW YORE 10007

Ruby J. Krajick
Gerk of Cowart

May 22, 2018

Islamic Revolutionary Card Corps
Go Mohammed Javad Aant
Minister of Foreign Affairs

Of the Islamic Republic of lran
Imam Kohmeini Avenue

Tehran, Tran

Re: Afeglan, ef aly fran, et al I-11 ev 07550 (GRD)SN)
In Re Terrorist Attacks on September 11,2001, 1:03 md 01570 (GBDWSN)

Qear Sir:

Pursuant to the Foreign Sovereign Immunities Act, 28 1.8.C, §1608(a)(3}, one copy of
the following documents arc being served on you on behalf of the Plaintiff in the above-
Teferenced action which names your country and/or a government office as a defendant:

(1) Cover Letter to Mohammad Javad Zanf, Foreign Minister of the Islamic Republic of
Iran;

(2) U.S, Dist. Court for the Southern District of NY. Clerk's Certificate of Default, dated
March 17, 2015 (Goeelan Docket No. £9);

(3) Notice of Default Judgment prepared in accordance with 22 CFR § 93.2;

(4) Order of Judgment Regarding Liability entered by Judge George B. Daniels on August
31, 2015 (MIL. Docket No, 3027};

{3} Findings of Fact and Conclusions of Law entered by Judge George B. Daniels on August
31, 2015 (Haglan Docket No. 111);

(6) Report and Recommendation #] by Magistrate Judge Sarah Netbum, dated October 12,
2016 (Aogian Dockel No, 171);

(Fy Report and Recommendation #2 by Magistrate Judge Sarah Netburn, dated Cctober 14,

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 36 of 66

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Case 1:11-cv-07550-GBD-SN Document 256 Filed 05/25/18 Page 2 of 8

2016 (Hoglan Docket No. 172);

Keport and Recommendation #3 by Magistrate Judge Sarah Nethum, dated October 24,

2016 (MDL Dacket No. 3374);

Partial Order and Judgment entered by Judge George B. Daniels on October 31, 2016

(Haglan Docket No. 178);

Memorandum Decision and Order entered by Judge George B. Daniels on October 31,

2016 (MDE. Docket No. 3383);

Memorandum Decision and Order entered by Judge George 8. Daniels on October 31,
2016 (MDL Docket No. 3384);

Memorandum Decision and Order entered by Judge George B. Daniels on June 21, 2017

(MDL. Docket No, 3635):

Report and Recommendation #4 by Magistrate Judge Sarah Netburn, dated August 8,

2017 (oglan Docket No. 219);

Memorandum Decision and Order entered by Judge George B. Daniels on November |’,

2017 (MDL Docket No. 3795);

Final Order and Judgment on Compensatory Damages entered by Judge George B.

Daniels on February 26, 2018 (MDL. Docket No. 3905);

Forcien Sovereign Immnitics Act, 28 U.S.C. $1602, ct seq;

Right lo Appeal Notices; and,

Right te Appeal Form.

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UNITED STATES DISTRICT COURT } DOCUMENT

SOUTHERN DISTRICTOFNEW YORK ] ELECTRONICALLY FILED

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DATE FILED:

HOGLAN et al :
Plaintiffs) CERTIFICATE OF MAILING

Case No. ii cvorsse (ghd
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ISLAMIC REPUBLIC OF IRAN et al

Defendant(s)

Thereby certify under the penalties of perjury that on 77) day of May , 2018 _, Tserved:

Islamic Revolutionary Guard Corps cfo Moharwned Javad Zarif Minister of 2 i
Foreign Allairs of the Islamic Republic of Iran imam Kohmeini Avenue, Tehran, iran }

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foreign state, pursuant to the provisions of FRCP 4(f2ie fii).

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by DHL 2569185463 : , to the head of the ministry

of foreign affairs, pursuant to the provisions of Percign Services Immunities Act, 28 U.S.C. §

1G08(aH3).

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MWe ees __, tothe Secretary of State,

Allin: Director of Consular Services, Office of Policy Review and [oter-Agency Lisison |
(CAVOCS/PRI), US. Department of State, SA-29, 4" Floor, 2201 C Street NW, Washington, Dt |
20520, pursuant to the provisions of Foreign Services Immunities Act, 28 U.8.C, § 1e0&(ay4).

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hry = , lo the head of the agency or
instrumentality of the foreign slate, pursuant to the provisions of Foreign Services Immunities
‘i PR, USC. §,1608(6}3)(B),

RUBY J. KRAJIICK
CLERK OF COURT

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DEPUTY CLERK OF COURT

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 38 of 66

Case 1:11-cv-07550-GBD-SN Document 256 Filed 05/25/18 Page 4 of 8

Attached Rider

The documents to be served on all of these Defendants are as follows:

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Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 39 of 66

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Case 1:11-cv-07550-GBD-SN Document 256 Filed 05/25/18 Page 5 of8

Final Order and Judgment on Compensatory Damages entered by Judge George B. Daniels
on February 26, 2018 (MDL Docket No. 3905);

Foreign Sovereign Immunities Act, 28 U.S.C. $1602, ef seq.:
Right to Appeal Notice; and,

Right to Appeal Form.

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Case 1:11-cv-07550-GBD-SN Document 256 Filed 05/25/18 Page 7 of

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GENERAL SANCTIONS WARRANTY AND INDEMNITY LETTER

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Shipment Detalis/alr Waybill Number LAL £xpree/ a5- Gilg -54b5

This Ranctions Watrasty and Indemnity Letter (ibis “Lotier") details the understanding bolween
ge, Mellew,T. (Shipgec") amd DM. Expres (“DEIL") and clarifics the
: nitions ond warranties dhippes provides to DELL with respect to the potential impact of economic
sanclions ks and sepelations upon the Shipment, Capitalized tenns used bereln are defined in Annex A to this
Leiber.

STUIPPER HERELY REPRESENTS AND WARRANTS TO DPD THAT:

SUItrin! Ss REPERSENTATIONS AMD WARRANTEIS WOT RGSPaCt To SHEPrER

Shipper is mot a Deaied Party, or in any way identified, either specifically or by references, on any applecalic
Sanctions: List iwed pursuant to a Sunction(s) issned by a Sanctions Authority. Shipper is mcvher owned nor
canneadied by a Cenied Party.

Shipper has comdocted effective due diligence on the Shipment's rocapicote, ogy known emd-tscrs and all
consigners. To the best of Shippers knowledge, tendering the shipments lo DHL and its delivery by DIL to its
intended destinations andor exdasers will mot: [) Conssinete a breach or viclation of any applicable Sanctian;
of 2) Expose DIL to any Sapction of penalty imposed by any Sanctions Anthority.

SHIPPERS REPRESENTATIONS AND WARRANTIET WITH Rishi? To THE StnrMeNT

The Shipper warrants that:

(a) the shdpmenis dues pot connin any Restricted Gems, of, alternaively,

fi) if the Shipments does contain Restricted Items, amy and all licenses, approvals and permet tral may be
required under applicable faws andl cegulations have been obtained from the proper authorities, and a copy
nf each such tices, appeoval or permil are provided to EYAL prior to or af the tia of ncaderiog: the
shipments tp [FILS

fe) the Shipper is the toe shipper and expoter of the Shipments; and

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For SHIpMertrs Sumecr To US SARcTons Laws (ONLY IF APPLICABLE):

fn) the Shipments doce not contain ony unlicenstd of not-excmpt Uniled Statescctgen aborns or any othes: therm
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at beast 10S) TIS content or technology or 23% wheres applicable);

fh) the Shipper, where the shipment it taxdered to CHI. outside the United States and ite territories, has mot
ancl will mot receive or remit any United States Dollar (USD) payments for the goods bog shipped,
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fel the Shipper, where the shipments ix tendered to DHL oursede the United States and its sorritorics, has not
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resulting foe amy breach or vinlation by the Shipper Gincloding its cmployecs, servants, agents, sub-contractors
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Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 42 of 66
Case 1:11-cv-07550-GED-SN Document 256 Filed 05/25/18 Page 8 of 8

(Notes Tits detber is pequicer [or each indivithial shignees destined ba fran, Syria, beorth Korea, Studer, Ceanveeg ard Cuba]

fa} Applicsble Saneticn(s), ar

fb) the reprosestations and warranties contained! berein, including non-declartion oF legal, inpecurate
andoe inadequate declaration by the Shipper in respect of the shipment oc from amy other cause in
connection with the Shipment, or the exercise by DHL. of any and all of tts rights as set cat below (“Ceram
io DHL}.

Comply with DAE Aeiags The Shipper shall comply with any and lf special handling procedures that DHL
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arall of the foliaeaing:

fa) ingpect nndfor screen the Shipments in aocordance with applicable laws;

{h) return the shipments;

fe) ahanden or block the shipments without ony farther liability to the Shipper as required by appilicwale: law;

fd) discloses information related to ibe shipment fo 4 povernment authority in accordance wih applicable laws;

fe) releate Ube shipments to6 goverment 2uthorify in accondauce with applicable laws, or
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Shipper's costs) without any Further liability to tke Shipper if it hecomes apparent thea any of the
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believes that such action is necessary to ensure its own compliance with applicable laws and regulations.
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SHIPPER ACKNOWLEDGEMENT

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general caniage or contract. By signing below the Shipper acknowledges aux agrees to all prowisioas of this
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Case 1:11-cv-07550-GBD-SN Document 257 Filed 05/25/18 Page 1 of 8

Ustren Stares District Court
SOUTHERN INSTRICT OF NEW YORK
OFFICE OF THE OLERE
600 PEARL STREET
NEW YORK, NEW YORK 10007

Ruby J. Krajiek
Clerk ef Coat

May 22, 2018

Tran’s Ministry of Information and Security
clo Mohammed Javad “arif

Minister of Foreign Affairs

Of the Islamic Republic of Tran

Lindam Kohmeimn Avenue

Tehran, fran

Re: Mogan, etal vo Iran, et al ish! ev 07550 (GRDVNAN}
In Re Terronst Attacks on September 11, 2001, 1:03 md 01570 (GBD)(SN)

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Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 44 of 66

Case 1:11-¢v-07550-GBD-SN Document 257 Filed 05/25/18 Page 2 of 8

2056 (Moglan Docket No, 172);

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(MDL Docket No. 3633);

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Final Order and Judgment on Compensatory Damages entered by Judge George B.

Daniels on February 26, 2018 (MDI. Docket No. 3905);

Foreign Sovercign Immunities Act, 28 US.C_ $1602, et seq.;

Right to Appeal Notice; and,

Right to Appeal Form.

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 45 of 66
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UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK _ ee. FILED
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HOGLAN et al ;
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ISLAMIC REPUBLIC OF IRAN et al
Detendant(s)
Thereby certify under the penalties of perjury that on 85 day of May 2018, Dserved:

rans Ministry of Information and Security ofo Mohammed Javed farif Minister of
Foreign Affairs of the Klannic Republic of Iran iam Kohroeini Avenue, Tehran, lram

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by _, to the individual of the
foreign state, pursuant to the provisions of FRCP Afi2icHii.

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by ne ines , tothe Secretary of State,
Attn: Director of Consular Serviees, Office of Policy Review and Inter-Agency | daison
{(CA/OCS/PRI}, U.S, Department of State, $A-29, 4" Floor, 2201 C Street NW, Washington, DC
20520, pursuant to the provisions of Foreign Services Immunities Act, 28 LSC. 4 1e0e(a4}.

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Case 1:11-cv-07550-GBD-SN Document 257 Filed 05/25/18 Page 4 of3

Attached Rider

The documents to be served on all of these Defendants arc as follows:

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2017 (MDL Docket No. 3795);

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 47 of 66

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Case 1:11-cv-07550-GBD-SN Document 257 Filed 05/25/18 Page 5 of 8

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Case 1:11-cv-07550-GBD-SN Document ?57 Filed O25/18 Page sof 8

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GENERAL SANCTIONS WARRANTY AND INDEMNITY LETTER
Shipment Detaits/Air Waybil Number LHL € xpress! a5 - es - teae4

This Sanctions Warenoty and Indenanity Letter (this “Leteer") details the understanding betwee

E. Meélleas SIR, ("Shigpa") and DIM. xpress (DHL) and clarifies the
representations and wannnties Shipper provides io DHL with respect to fhe potential impact of coonomic
sanctions laws and regulations upos the Shipment. Capitalized terms used borein ane defined in Annex A to this
Latter,

SHIPPER HEREBY REPRESENTS AND WARKANTS TO DPDHL THAT:

Srege ss REPRESENTATIONS AND WARRANTIES WO REStaer To SHireeR

Shipaer is nota Denied Party, or in any way icdentifved, eather specifically or by rofercoce, on any applicable
Ranctions Lisl meded parsoant to a Sonction{s) ised by on Sunclions Authority, Shipper is neither weaned nor
enadrolied by a Benge Party.

SH0pren s MEPROS ERATIONS AND WARRANTIES Wry Weseect To TH CONRDONEESS | An Linn LseR(S)

Shipper las cemiveted effective doc diligence on the Shipmont's eeeaplents, any known enml-users amd ail
cond pnes, To the best of Shipper’s knowledge, tendering the shipments to DEL ocel ite detinery by PHL to its
intended destinations onellor end-users will dew 1) Cometitute 2 brench or vidlation of amy appheable Sanction;
or 2) Expose DHL to any Sanction or ponalty imposed by any Sanclions Astthority,

Seth's RPE PNT ATIONS AND WARBAMTEIS Wri bene Tip THE SA ERT

‘The Shipper warraets that:

fa) the shipments dow. ont contain any Restricted lees, of, alternatively,

th) if the Shipments docs comtain Restricted Dems, any and all liconscs, approvals and permits thet may be
required under applicable laws and regulations hiv: been obtained from the proper authoctics, and a copy
of eich soch lieense, approval or permet are prowlded te DHT. prior te cot ibe Gime et pondering tbe
shipaneais wo DELL;

fc) the Shipper is the true shipper and expocter of the Shipments; and

fd) the description, wales, consignee, and other associutod infeninston tid docunsents related to ths Shipments
are trae and accurate. :

Fon Sue MENTS SURRECT Do US SAncCT ONS Laws (aa 1 APPLICABLE,

fal the Shipments dors not contain amy unlicensed of noecxenpt United Stvtes-nrigin items oc any alher dene
that are sibjece to US. expert controls fe goods produced outside the Uelned States containing by valor
at bet 104 US comes or techonlagy or 25% where applicable),

ib) the Shipper, where the shiganent is tendered to DHL outside the United Statcs ancl its tegriteries, has nod
and a oot receive or remit ure United States Dollar (SD) payments for the goods boing shipped,
whether directly frac the noclpleat or consignes, of indinectly from any olbec parson (unless specifically
permite by license. of exemplion); and

fe} the Shipper, where the shipments is tendered to ONL outed) the Onited States and its termilories, has mot
and -arill oat pay DELL for the Shipments ow for any olber services in USE

Spopeok 5 GRANT 08 nnn Ano Keceis 1 TAM,

fodesurity: The Shipper shall inevocably unl unconditionally hold DHL. {inclading it: employoes, servants,
apeits, subcosimactors, repecsentatives, insurers and we-insurers) fully hacmiless from aed keep [PCMH
fincluding its employes, servant, agents, subcomractors, repecsentatives, insurers and ne-insumers) fully
tdemnified against all ard amy losses, damages, fines and expenses wheteocver which it may suffer arising or
remilting from any heeach or violation by the Shipper (inchiding its omployocs, sorvants, agents, sub-combractors
md repecemblatives od amy:

1 Version 0.6
Date 2017-09 fd
Case 1:11-cv-07550-GBD-SN_ Document 320-2 Filed 02/22/20 Page 50 of 66
Case 1:11-cv-07550-GBD-SN Document 257 Filed 05/25/18 Page 8 of 8

{Mone This letter bk required for ead indhldual shipmees cleaned’ bo Wan, Yet, Mort Keeea, Soler, Crimea aad Cuba.]

ta) Appheable Sanctions), or

(bh) the representalions ond warranties contained horcin, including noc-declaration of ilogal, inaccurste
andfo’ inadequate declaration by the Shipper in respect of the shipment or from amy other cosa in
cennecion with the Shipment, ar the exercise by GL of any ane all of ite elehte as eet oot belo ("Grant
ta DELL}.

Gaigady vei DE Actions: The Shipper shall comply with any ami all special handling, peocedores thot DIT.
Hey require and anplement for the shipments co comply with o Sancion.

Grant to DIL: Shipper bereby grants DIL the cight (but not the obligation) at DHL" diserction te conduct any
ar all of the follewiap:

fa) inepeet andor sereen the Shdpmence in aecodance with applicable laws

fi) return the shipaments:

te} shaneton er block the shipments without any foriker limtility io lho Shipper as reqeired by applicable law;

fd) disclose information related co the chipnneot to4 powennment authority in accordance with applicable laws;

fc) release Whe shipenents boa government authority im accordascs with applicable Ines; or
store the shipments diving the examination period amd then dispose af or destroy the shipecnts (all at the
Shipper’s coats} wilhoul any focther livhity to tee Shipper if it becomes apparent that aay of the
reppeseniations or warranties in this Letter are aniros, inacomrale of incomplete, or if DHL ccanomebly
elites Chat sich eelion i meorianry io ensure Ite owe ooenpliance weil applicable laws and rcppolatics.
ToFTL. will Inke prompt anal reasonable measures bo poovide tee Shipper with reasonable mbvanes notice prior

to king aay such action end offer the Shipper o ceasonahle opportumily be provide tec mockery
clarifications to ibe complianes malices al sec.

SEOPPER, AyS OMT LESTE LENT

DHL aecepis the shipments in fall reliance upon the Shipper’s representations, warmumiies aml agreement
conlained in this Letter. The tems of this Letter shall prevail over any conflicting terms and canditions of
pettrnl corriape of onnimet, Dy signing below the Shipper ackeowledges ard agrees bo all provisions of this
Letter.

Signanuce— 5 fyb rere a] \ Lene
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Company Mamez
ce Mellons Law Fike

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Come CUNSC"), tht Enogean Union CEUM, The German Fedemi Gllies for Broaomin Allie and Tixpor, Cont] CHARAN), ebm
Genmany Podrral Toek, the 0,5, Depa tated af dhe Treaty 2 OMe: of Peete Assets Conend COMAC"), the US, Depamments of So ov
Conmerce, ibe United Kingdoss dincheting Flor hipjcsiy's Try [AMT Aueealian Depeincar of Forripo ADEs Sod Trak, ool
any dlher cqaivalent ints ambority. Collectively, these are deemed the “inaction: Amhoriiles".
Sumefonic] inte: A Ext of ronclineral entities fin, Demed Poches), generdliy consisting of names of the samctheoed Sedividuals, ensities inl
annette det: daddivesses. localions, alizses).
Sancti? Geafrie: Thine cuanbic, oped oe verciiocies Chak noe cumeady sphject io heed, compoos or comprohensive. sanctions
mluding bal net lirrated Ip UMFALLLS, embargoes fe.g. enerendly Crimes, Tram, Nowih Karen, Sudon, esd Syia; (Cuba where LS sancti
apply}. This Esc nary change Grogs tine do lime are! meqy asp Se hood on forinre beyond bre.
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Later, fora Thinker Lever, oll shipments by the Shopper ofer the date fos Letier was executed.

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Deke SOT 707 - fl

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Case 1:11-cv-07550-GBD-SN Document 258 Filed 05/25/18 Page 1 of8

Unirep States Districr Court
SOUTHERN DISTRICT OF NEW YORK
OFFICE OF THE CLERK
500 PEARLSTREET
NEW YORK, NEW YORK 10007

Ruby J. Krajick j
Clerk of Coaet f

May 22, 2018

Islarme Republic of Iran

clo Mohammed Javad “arif
Minister of Forcign Affairs

Of the Islamic Republic of Tran
Imam Kohmein Avenue
Tehran, Iran

Re: Hoelan et al. v_iran etal tcit ew 07550 (GRD) SN)
In Re Terronst Attacks on September 11, 20001, 1:03 md 01570 (GRDYWSN)

Tear Sir:

Pursuant to the Foreign Sovereign lmmvanities Act, 28 U.S.C. §1608(a)(3), one copy of
the following documents are being served on you on behalf of the Plaintiff in the above-
referenced action which names your country and/or a povernment office as a defendant:

{1} 9 Cover Letter to Mohammad Javad Zarif, Foreign Minister of the Islamie Republic of
Iran;

(2) U.S. Dist. Court for the Southem District of N.Y. Clerk's Certificate of Default, dated
March 17, 2015 (ffogtan Docket No. £9);

(3) Notice of Default Judgment prepared in accordance with 22 CFR. § 93.2;

fF} Order of Judgment Regarding Liability entered by Judge George . Daniels on August
41, 2015 (MDL Docket No. 3027);

(5) Findings of Fact and Conclusions of Law entered by Judge George B. Daniels on Aupust
31, 2015 (Hoglan Docket No. 111);

fa) Report and Recommendation #1 by Magistrate Judge Sarah Netbum, dated October 12,
2016 (Hogan Docket No. 171);

(7) Report and Recommendation #2 by Magistrate Judge Sarah Netburn, dated October 14,

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2016 Wfogian Docket No. 172);

(8) Report and Recommendation #3 by Magistrate Judge Sarah Netbum, dated October 24,
2016 (MDL Docket No, 3374);

(4 Partial Order and Judgment entered by Judge George B. Daniels on October 31, 2016
(Haglan Docket Na. 178);

{10} Memorandum Decision and Order entered by Judge George B. Daniels on October 31,
2016 (MDI. Docket No. 3383);

(11) Memorandum Decision and Order entered by Judge George B, Daniels on October 31,

2016 (MDL Docket No, 3384);

(12) Memorandum Decision and Order entered by Judge George 13. Daniels on June 21, 2017
(MDL Docket No. 3633);

(13) Report and Recommendation #4 by Magistrate Judge Sarah Netburn, dated August 8,
2017 (Hoglan Docket No. 219);

(14) Memorandum Decision and Onier entered by Judge George B. Daniels on November 17,
2017 (MDL Docket No, 3795);

(15) Final Order and Judgment on Compensatory Damages entered by Judge George B.
Daniels an February 26, 2018 (MDL Docket No, 3905);

f16) Foreign Sovereign Immunities Act, 28 U.S.C. $1602, et seq.;

(17) Right to Appeal Notice; and,

(18) Right to Appeal Form.

Respectlully yours,

Enc.

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Case 1:11-cv-07550-GBD-SN Document 258 Filed 05/ ae

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEWYORK ee FILED
DATE FILED:
FICGLAN et al
Plaintiff(s) CERTIFICATE OF MAILING
Case No: _t:lleworsso_ (gbd
aln
ISLAMIC REPUBLIC OF [RAN et al
Defendant(s}
I hereby certify under the penalties of perjury that on 5 day of May . ,2oie , | served;

one Republic of [raim ate pichammed: Javad Zarit Minister of _

One copy of the _ /

by . - ied . : to the individual of the
forcien slate, pursuant to the provisions of FRCP 4{2(c p01).

< One copy of the Set attactwed Rider. Be eet ces aire orks eh
hy DHL 2569180261 _, to the head of the ministry
of forcign affairs, pursuant to the provisions of Foreign Services immunities Act, 28 LSC, $
1608(a)(3}.
Two copies of the poe
by : _, to the Secretary of State,

Attn: Director of Consular Services, Office of Policy Review and Inter-Agency Liaison
(CAMOCS/PRI}, US. Department of State, SA-29, 4" Floor, 2201 C Sureet NW, Washington, DC
20520, pursuant to the provisions of Porcign Services Immunities Act, 28 U.S.C. § 1608(a)(4).

Onccopyofthe - ne

by to the head of the agency or
instrumentality of the foreign state, pursuant to the provisions of Foreign Services Drivmnilies
Abt 28 U.S.C. § 1608(2)3)1B).
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Date New pas New York

AAS

RUBY J.KRAJICK
CLERK OFCOURT /\ |

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Print Magee
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Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 54 of 66

Case 1:11-cv-07550-GBD-SN Document 258 Filed 05/25/18 Page 4 of &

Attached Rider

The documents to be served on all of these Defendants are as [ollows:

(1)
(2)

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Cover Letter to Mohammad Javad Zarif, Forcign Minister of the Islamic Republic ofiran;

U.S. Dist. Court for the Southern District of NY, Clerk's Certificate of Default, dated
March 17, 2015 (Hoglan Docket No. 89);

Notice of Defiult Judgement prepared tn accordance with 22 CFR § 93.2;

Order of Judgment Regarding Liability entered by Judge George B. Danicis on August 31,
2015 (MDL Docket No. 3027);

Findings of Fact and Conclusions of Law entered by Judge George B. Danicls on August
31, 2015 (Hoglan Docket No. 111);

Report and Recommendation #1 by Magistrate Judge Sarnh Netbum, dated October 12,
2016 (Hoglan Docket No. 1715;

Report and Recommendation #2 by Magistrate Judge Sarah Netburn, dated October [4,
2016 (Hoglan Docket No, 1725;

Report and Recommendation #3 by Magistrate Judge Sarah Netbum, dated October 24,
2016 (MDL Docket No. 3374);

Partial Order and Judgment entered by Judge George B. Daniels on October 31, 2016
(Hoglan Docket No. 178);

Memorandum Decision and Order entered by Judge George B. Daniels on October 31,
2016 (MDL Docket No. 3383);

Memorandum Decision and Order entered by Judge George B. Dantels on October 31,
2016 (MDL Docket No. 3384);

Memorandum Decision and Order entered by Judge George B. Dantels on June 21, 2017
(MDL Docket No, 3633);

Report and Recommendation #4 by Magistrate Judge Sarah Netbum, dated August 8, 2017
(Hoglan Docket No. 2719);

Memorandum Decision and Order entered by Judge George B. Damels on November 17,
2017 (MDL Docket No. 3795);

CaSl P14: VO 7 SSSR SEND GeHEE SOS Frit (69220120 FRage&as at 66

(15) Fimal Order and Judgment on Compensatory Damages entered by Judge George B. Daniels
on February 26, 2018 (MDL Docket No. 3905};

(16) Foreign Sovereign Immunities Act, 28 U.S.C. $1602, ct seq.:
{17} Right to Appeal Notice; and,
{18} Right to Appeal Form,

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(Mobe: Thin letter bs eequieed for each jdividual shipeent destined bo tram, Sytla, Marts Korea, Sinan, Crimea and Cuba|

GENERAL SANCTIONS WARRANTY AND INDEMNITY LETTER
Shipment Uatalls/Air Wayblil Number HL Express] g5~EAIS- Oot!

This Sanctions Warranty and Indceuity Letter (thes “Lemer") details the muderstaouding between
(lak E, Metlon sne.cShioper" and DHL Express (“DHL") and clarifies the
a

warranbes Shipper previles lo DHL with reypect in the pobential impact of esenesnic
sanctions laws amd mepulation: upos the Shipment. Capitelised terms weed bercin ore defined im Acme A bo this
Letter.

Tene tans i

SHIPPER IRRERY REPRESENTS AND WARRANTS PO DPDHL THAT:

Shimane": Renee,

WOT RESPeCT, CO SIEEER,

Shipper is not a Denied Party, or a any way identifted, cither specifically of by reference, on any applicable
sainctions List issaed pursuumt it a Sanctimats) ised by a Sanedions Awhority, Shipper i neither cyrned nor
omalrolied hy a Feniex! Party,

SHIPPERS MEPRESENTATIONS AND WARRANTIES Wir RESPecr To THE ConsecMes(S) AND Eem-Lsees)

Shipper hee conducted effective dec diligence on fhe Shipment's recipsants, any nove ood-aters are all
ounsipmess. Po the best of Shippec’s bnowledsec, tendering (he shipments to CAEL. ancl its clefivers by DHT. im its
Thhenckl destinalios; onfar end-users will mot; 1) Constilale a beeach or violation of any opplicable Soneciion;
or 2) Expose THT. to any Sanctlon or penalty impeded by ony Sanctions Authority.

SHIPPERS REPRESENTATIONS AUNT? WARRANM TOES WITH RESPCT TO THe SHIPMENT

The Shipper’ warrants that:

fa} the shipments ches not contain any Restricted Themes, on, alkematively,

(bh) if the Shipments doce contain Restricted Items, any ame all licenses, approvals ood permite that may be
requitead der applienble Lee: and vepnlaiions have been obtained from the proper aolhowities, axl a copy
of cach sich biceese, ap pecan or penal are provides! bo DAL. prior be or uf ibe time of tendering the
shipments to DHL:

fe) the Shipper is ile tres shipper and exposter of the Shipanenis: aml

(dl) the description, voles, consignee, ime ober ossocinted information ansl documents related te lhe Shipments
one trie nel aiccornite,

Fon Serer Sumer Te OS Sancoone Laws (OMe Te APEICABLIES

fa) the Shopenedts dees 101 contaia amy unticensed of mon-cacnpt Under Sietes-carigin tems or apy other ihems
thal are subjest to WA, expert controls (ep., goods prodmeed outside the United Statics contasing by value
at Lensl [0 LS content or fechmology or 25% where applicable}:

(b) the Shipper, where the shipment is texdered to DAL ootade the Unie Staves amd i tensiocies, bas not
armel will nal receive ur comb any United States Dollar (USD) paymends for the ponds heing chipped,
wheber directly from ihe cocipieal or compos, or indiedy from ay other person (unbess speeciically
ponmilled by license of cxcsiplion): and

te) the Shipper, where the shipments is tendemed tn DHL omiside the Unite! States and its teninacce, has oot
aad will nod poy DHL tor the Shipments oc for any other services in USD.

RHEPPER'S CRANT OF INDEMNITY AND RIGHTS To Das.

fit: The Shipper shall nrewocahly and unconditionally bold DAL. Gnciuding its employers, servants,
apenit, subooniactons, representatives, ingucers aml po-imeurert) filly hewmless from and keep OPOHL
fincloding its coployecs, sorvanig, agents, Sabconueclors, represoniauves, ingurcre ancl oo-insurers) folly
idicannified opainst all and any oases, damapes, fines and expenses whatsoever which tf ony suffer VLE or
Tesalting from any breach or vicdation by the Shipper (incheling its employees, servanls, apents, sub-contractors
and pepresentalives) of amy

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Case 1:11-cv-07550-GBD-SN Document 258 Filed 05/25/18 Page 8 of 8

PMlate: This beter & cequilied tor each inidlividial chipmme destined po lam, Sata, Seeth Korea, Sudan, Gini gel Culsa,|

(a) Applocible Sanccemfs), or

(h} the representations andl waearanies conlained bern, including non-declaation w illegal, knaccarate
andor inadequatc declaration by the Shipper im respect of the shipment or from any other caus oi
connection with the Shipment, ar the exercise by CHL of any and. all of its cil at ect oot beso ¢Carant
io DHL}.

Campty with DAN Actions: The Shipper shall comply with any and all spectal bondling procodunes thet DHL
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ar all of che following:

ia} iiepeet ander sereen the Shipments in accordance with applicable laws;

(b) return the shipments;

fc} abondes oc block the shipments without any Further liability to the Shipper as required by applicable law,

{d) dischate information related to the chigninent $a povernend auibority in aeoondiees with applicable laws;

fe} release the shipments hha Roverment auihoriby im acoonbinos with agylecwble lave, or
alove the shipments ducing the examination period amd ihen dispose ef or tbestrey the shipmoents fall al tbe
Shipper's cess) wilhowt any further lizhility te the Shipper if it becomes apparent thet any of he
repreneniations on wanranties in this Letter an untrog, inacconds or incomplets, or if DHL reasonably
believes that such action is necessary to cheore its owe compilancs with applicable laws and mgudntions.
THT. will take prompt and reascnnble measures io provide the Sbipper with masomble advanos eotioe prior
to taking any euch aceon aod offer the Shipper a reassemble opportinity tn provide lhe mecessary
clarificalbins bs ihe compliance males al csi.

SeRPPEL ACKNUWLEDCSEMENT

TL. zecepts the shipreents in full reliance upan ibe Shipper's represeniaiens, warranties ond agreement
comlained in this Lethe, The tens of this Teter shall preva) over any conflicting terms and comdisone of

yenoral Giertage or comtract. Ey sipiap below the Shipper acknowledacs amd aprees to oll provisions of this
letter.

Signature: ") Seo fede ga Dati: fen azt,aoe
Print Same: 4 Homat Ee: Mellen jt. Tithe: Males 7

Company Nameiay ¢ (fay Lan Pee

ARNE Ag Terre TIons

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addresses ond olher debils, Por tho pexpeses of thie Latter, the teres “Tiered Party" dete mot inehiile Gaited Uhad appear on the Sccineal
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Letter: This Saadiogs: Weemnly aad Indemnity Letter.
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Case 1:11-cv-07550-GBD-SN Document 259 Filed 05/75/18 Page 1of8

Unsiren Stares District Court
SOUTHERN DISTRICT OF NEW YORE
OFFICE OF THE CLERK
600 PEARL STREET
NEW YORE, NEW YORK LOOT

Ruby J. Krajick
Clerk of Court

May 22, 2018

Hezbollah

cfo Mohammed Javad Farif
Minister of Foreign Affairs

OF the Islamic Republic of Iran
Imam Kohmeini Avenue
Tehran, Iran

Re: Hoglen, ef al. vo fran, et al, [711 ev 07550 (GBDMSN)
In Re Terrorist Attacks on September 1], 2001, 1:03 md 01570 (GBD\SN}

Dear Sir:

Pursuant ta the Foretgn Sovercign Immunities Act, 24 U.S.C. §1608(a)(3), one copy of
the following documents are heing served on you on behalf of the Plaintiff in the abowe-
referenced action which names your country and/or a sovernment office as-a defendant:

(1) Cover Letter to Mohammad Javad “arif, Foreign Minister of the Islamic Republic of
Iran;

(2) 8. Dist. Court for the Southern District of N_¥. Clerk's Certificate of Definult, dated
March 17,2015 (Yoglan Docket No. $9);

(3) Notice of Defaull Judgment prepared in accordance with 22 CFR § 93.2;

(4) Order of Judgment Regarding Liability entered by Judge George B. Daniels on August
31, 2015 (MDL Docket No, 3027); ad

(5) Findings of Fact and Conclusions of Law entered by Judge George B. Daniels on August
31, 2015 (Hoglan Docket No. 111);

(6) Report and Recommendation #1 by Magistrate Judpe Sarah Nethum, dated October 12,
2016 (Hoglan Docket No. 171};

(7) Report and Recommendation #2 by Magistrate Judge Sarah Netburmn, dated Oclober 14, -

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Case 1:11-cv-07550-GBD-SN Document 259 Filed 05/25/18 Page 2 of &

2016 (orion Docket No. 172};

Report and Recommendation #3 by Magistrate Judge Sarah Netbum, dated October 74,
2016 (MDL Docket No. 3374);

Partial Order and Judgment entered by Judge George B. Danicls on October 31, 2016
(AHoglan Docket No. 178);

Memorandum Decision and Order entered by Judge George B. Damels on October 31,
2016 (MDL Docket No. 3383);

Memorandam Decision and Order entered by Judge George B. Daniels on October 31,
2016 (MDL Docket No. 3384):

Memorandum Decision and Order entered by Judge George B. Daniels on June 21, 2017
(MDL Docket No, 36333;

Report and Recommendation #4 by Magistrate Judge Sarsh Netbum, dated August 8,
2017 (Afagian Docket No. 719);

Memorandum Decision and Order entered by Judge George B. Daniels on November 17,
2017 (MDL Docket No. 3795}:

Final Order and Judgment on Compensatory Damages entered by Judge George B.
Daniels on February 26, 2018 (MDL Docket No, 304);

Foreign Sovereign Immunities Act, 28 LLA.C. 91602, et seq.;

Right to Appeal Notice; and,

Rught to Appeal Form.

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 61 of 66
Case 1:11-¢v-07550-GBD-SN Document 259 Filed 05/25/18 Page 3 of
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HiGLAN et al en
Plaintiff(s) CERTIFICATE OF MAILING

Case No: iticwo7s50  (gbd
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ISLAMIC REPUBLIC OF IRAN et al

Defendant(s)

[hereby certify under the penalties of perjury that on SP aay oD Afar ,201a  , P served:
Hezbollah cto Moharimed Javad Zant Minister of :
Foreign Affairs of the Islamic Republic of bran Iman Kohmeini Avenue, Tehran, Iran a

One copy ofthe

by __, to the individual of the
foreign state, pursuant io the provisions of FRCP Ate Mii).

One copy ofthe See attached Ricker,

by GHL 7569195042 __ , to the ve head of the ministry
of foreign affairs, pursuant to the provisions oF Foreign Services Immunities Act, 28 U.S.C. i
DOOR (ait).

Two copies of the

by to the Seoretary of State,
Atin: Director of Consular Services, Office of ee Review and Inter-Agency Liaison
(CAJOCS/PRI}, US. Department of State, SA-29, 4" Floor, 2201 C Street NW, Washineton, DC
20320, prorszant to the provisions of Porcign Services Immunities Act, 28 15.0. § 1o08{ay4).

One copy of the |

by ~s » to the head of the agency or
instrumentality of the foreign state, pursuant to the provisions of Foreign Senaces Immunities
Act 28 u. 8.C: §,1608(6)(3)B).

Dated: 7 York, a York
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RUBY J. KRAJIICK
ore OFC rf}

\e Ud Lanta
“ ’ Print NumeJashira Carbo _
Wy eos DEPUIYCLERK OF COURT

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 62 of 66
Case 1:11-cv-07550-GED-SN Document 259 Filed 05/25/18 Page 4 of 8

Attached Rider

The documents to be served on all of these Defendants are as follows:

(1) Cover Letter to Mohammad Javad “arif, Foreign Minister of the Islamic Republic ofiran;

(2) LS. Dist. Court for the Southern District of MJY. Clerk's Certificate of Default, dated
March 17, 2015 (Hoglan Docket No, 89);

(3) Notice of Default Judgment prepared in accordance with 22 CFR § 93.2;

(4) Order of Judgment Regarding Liability entered by Judge George B. Danicls on August 31,
2015 (MDL Docket No, 3027);

(5} Findings of Fact and Conclusions of Law entered by Judge George B. Daniels on August
31, 2015 (Hoglan Docket No. 111);

(i) Report and Recommendation #1 by Magistrate Judge Sarnh Netbum, dated October 12,
2016 (Hoplan Docket No. 171);

iT Report and Recommendation #2 by Magistrate Judge Sarah Netburn, dated October 14,
2016 (Hoglan Docket No. 172);

{®} Report and Recommendation #3 by Magistrate Judge Sarah Netbum, dated October 24,
2016 (MDL Docket No. 3374);

(9) Partial Order and Judgment entered by Judge George B. Daniels on October 31, 2016
(Hogian Docket No. 178);

(10) Memorandum Decision and Order entered by Judge George B. Damels on October 31,
2016 (MDL Docket No. 3383);

(11) Memorandum Decision and Order entered by Judge George B. Daniels on October 31,
2016 (MDL Docket No. 3384);

(12) Memorandum Decision and Order entered by Judge George B. Daniels on June 21, 2017
[MDL Docked No. 3633);

(13) Report and Recommendation #4 by Magistrate Judge Sarah Netburn, dated August 8, 2017
{Hoglan Docket No. 219);

(14) Memorandum Decision and Order entered by Judge George B. Danicls on November 17,
2017 (MDL Docket No. 3795);

Case 1:11-cv-07550-GBD-SN Document 320-2 Filed 02/22/20 Page 63 of 66

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Case 1:11-cv-07550-GBD-SN Document 259 Filed 05/25/18 Page 5 of 8

Final Order and Judgment on Compensatory Damages entered by Judge George B. Dantels
on February 26, 2018 (MDL Docket No. 3905);

Foreign Sovereign Immunities Act, 28 U.S.C. $1602, et seq-:
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Case 1:11-cv-07550-GBD-SN Document 259 Filed 05/25/18 Page 7 of 8

[Mote: This letter b required for each individual shipment testined (olan, Saki, Mork Keene, fonda, Crinaba and Dub]

GEMERAL SANCTIONS WARRANTY AND INDEMMITY LETTER

Shipment Ontails/Air Wasybill Number DAL €xpre85] 95 - EOS = Botte

This Sanctions Warranty amd Ixdernaity Letter (thle “Letier") deals the: uederstanding behween

ff Home MELCOn TE eeci"Shipper") and DUT. Mxpress (“DHL and clarifies the
ropresemiations al wirrantics Slipper provides to DHL with respect to the potentinl impact of economic
fanctions laws and mgolations upen the Shipment. Capitalized terms used herein are defined in Annex A to this
Listbex.

SHIFFER TERIAY REPRESENTS AND WARRANTS TG DPDHL THAT:

SHIPPLTE'S RGPRES TIN TATIONS AMD WiAREANTIES WT RESPECT To Sy pre ei,

Shipper is not @ Denied Party, or io any way pdentified, either apecifically or by reference, on amy applicable
Sanctions List issued pursuant toa Samction{s) ixtued by a Sanction: Authority. Shipper ie ether come per
comdrolied by a Donied Party.

SHIPHGN'S REPEESENTATIONS AWD WARRANTIES WITH RESPECT To THE CONSIGNERLS) Any Eep-UsrEtS)

Shipper hat conducted effective dic dhligenoe on Ihe Shipment’: eecipients, any lonown cod-oicrs and all
consigmecs. Tip be best of Shippers knowledge, tendering the shipments to AL. and its delivery by DHT. te its
interdled Gestinglions mmelfor end-users will net: 1) Goneditote a breach ar violation of any applicable Sometion:
ot 2) Expoes DAL to any Sanction or penalty imposed by any Sametions: #othorilty.

SHOPPER'S REPRESENTATIONS AND WARRANTIES With Respect lo THe SHiewent

The Shipper warrants that:

(0) the shipments dees not contnin ary Restricted Bes, of, ullematively,

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of ench such liceose, approval or perma are provided to DAHL pre to or at the time of teedering the
shupments to CHL;

fc) the Shipper is te ines shipper and exposter of cle Shigmens; ave

fd) the desoription, value, consipnee, ond other eciated information and documents eclted to the Slupencats
are Wot andl actarate.

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fe) the Shipper, where the shipments is teodered te DET outtede the United States: acl its bertitories, leas oot

und will not pay DAL for the Shipments of foray ofher services in USD,

Supra s Gann Oe IRDEMTTy AND Rigas To Bei,

fudewmotte: The Shipper shall imevocably and unceedilionally bokd DHL (including ts employes, servants,
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finchading fi employees, servanis, agent, subcontractors, ropresoubalives, insirtce and m-ansurers) fully
indemnified apainet all and any loeses, damages, Goes ond expenses whatsoever which if may suffer arising or
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and represcotedives) of any:

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Case 1:11-cv-07550-GBD-SN Document 259 Filed 05/25/18 Page 8 of 3

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(a) Applicable Sanchion(e), or

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andor inidequate declaration by le Shigper in respect of the shipment or from aay other cause in
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my require and implement Ene the: shipments io comply woth a Sanction,

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of all oF the following:

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(b} retin the shipaneniz:

(c) abomnedonor block the shipments wathoot any further liability to dhe Shipper ns necqoinedd bey applicable law,

{d} disclose information related bo the shiprosnt to a poveriment audhority in accordance wilh applicable bawe:

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SHIRPER ACKNOWLEDGEMENT

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